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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS
                                     No. 14-1098V
                               Filed: September 1, 2015
                                 (Not to be published)

****************************
JEFFREY EDGAR,                            *
                                          *
                    Petitioner,           *
v.                                        *     Stipulation; Attorneys’ Fees & Costs
                                          *
SECRETARY OF HEALTH                       *
AND HUMAN SERVICES,                       *
                                          *
                    Respondent.           *
                                          *
****************************
Elaine Whitfield Sharp, Esq., Whitfield, Sharp & Sharp, Marblehead, MA for petitioner.
Gordon Shemin, Esq., U.S. Dep’t of Justice, Washington, D.C., for respondent.

                      DECISION ON ATTORNEY FEES AND COSTS1

Gowen, Special Master:

       In this case under the National Vaccine Injury Compensation Program,2 I issued
on July 31, 2015, a decision dismissing the petition in response to petitioner’s motion for
a decision dismissing his petition. On September 1, 2015, the parties filed a Stipulation
of Fact concerning attorneys’ fees and costs. Additionally, pursuant to General Order
#9, petitioner’s counsel asserted that petitioner incurred no personal litigation costs in
this matter. Id. at para. 4.

       The parties’ stipulation indicates that respondent does not object to the amount
of $2,500.00 in attorneys’ fees and cost that petitioner is requesting.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2
  The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq.
(2012).
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      I find that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. §§ 300aa-15(b) and (e)(1). Further, the proposed amount seems
reasonable and appropriate. Accordingly, I hereby award:

                A lump sum of $2,500.00 in the form of a check payable jointly to
                 petitioner and petitioner’s counsel of record, Elaine Whitfield Sharp,
                 Esq., for petitioner’s attorney fees and costs.

        The clerk of the court shall enter judgment in accordance herewith.3

IT IS SO ORDERED.

                                                     s/ Thomas L. Gowen
                                                     Thomas L. Gowen
                                                     Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. See
Vaccine Rule 11(a).
